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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

FIDELITY NATIONAL TITLE                            )
INSURANCE COMPANY,                                 )
                                                   )
          Plaintiff,                               )
                                                   )
   v.                                              )          No. 4:22-cv-01391-JAR
                                                   )
APM MANAGEMENT SERVICE’S, LLC,                     )
et al.,                                            )
                                                   )
          Defendants.                              )

                                 MEMORANDUM AND ORDER

          This matter is before the Court on Defendant Christina Lanvermeier’s pro se motion to

appoint counsel. ECF No. 226. For the reasons stated below, Defendant’s motion will be

denied.

          Defendant Lanvermeier declares in her motion that, despite diligent efforts, she has not

been able to obtain counsel due to her poverty. Even so, a pro se litigant does not have a

constitutional or statutory right to appointed counsel in civil cases. Ward v. Smith, 721 F.3d 940,

942 (8th Cir. 2013). The Court also notes that, on May 19, 2025, the Clerk entered default

against Defendant Lanvermeier for her failure to appear and respond to Plaintiff’s Second

Amended Complaint, which was filed nearly two years ago on August 18, 2023. ECF No. 223.

          Accordingly,

          IT IS HEREBY ORDERED that Plaintiff’s motion for appointment of counsel is

DENIED without prejudice. ECF No. 226. The Clerk of Court is further ordered to mail a

copy of this Order to Defendant Lanvermeier’s address of record.

          Dated this 12th day of June, 2025.
                                                   ________________________________
                                                   JOHN A. ROSS
                                                   UNITED STATES DISTRICT JUDGE
